

Ventura v Chhabra (2021 NY Slip Op 03430)





Ventura v Chhabra


2021 NY Slip Op 03430


Decided on June 01, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 01, 2021

Before: Kern, J.P., Moulton, González, Scarpulla, JJ. 


Index No. 24421/18E Appeal No. 13987 Case No. 2020-01652 

[*1]Marlene Aponte Ventura, Plaintiff-Appellant,
vDevender N. Chhabra, DMD et al., Defendants-Respondents, Manhattan Dental Specialists, PLLC, Defendant.


Miller, Leiby &amp; Associates, P.C., New York (Ernest N. Reece of counsel), for appellant.



Order, Supreme Court, Bronx County (Joseph Capella, J.), entered on or about November 27, 2019, which denied plaintiff's motion for a default judgment against defendants Devender N. Chhabra, DMD, Hanuman Oral Surgery Care PLLC and Martin Gray Safran, D.D.S. and dismissed the complaint as abandoned pursuant to CPLR 3215(c), unanimously affirmed, without costs.
The motion court properly determined that plaintiff failed to establish sufficient cause why the complaint should not be dismissed as abandoned pursuant to CPLR 3215(c) (see U.S. Bank N.A. v Nunez, 190 AD3d 660 [1st Dept 2021]). The excuse plaintiff offered for her delay in seeking a default judgment was not reasonable: that she failed to notify her counsel that she moved to Puerto Rico, that her counsel had to hire an investigator to locate her to sign the affidavits of merit annexed to her moving papers after she moved to Puerto Rico, and that she did not return the affidavits of merit which were sent to her for several months.  
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 1, 2021








